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Meyer, Ioana C (CIV)

From:                             Speth, Charles <Charles.Speth@wilmerhale.com>
Sent:                             Thursday, November 7, 2024 12:26 PM
To:                               Meyer, Ioana C (CIV)
Cc:                               Tuttle Newman, Jake; Gostin, Isley; Bertoni, Daniel (CIV); Adair, Thomas (CIV)
Subject:                          [EXTERNAL] RE: AECOM - Discovery Check-in


Ioana –

I have a couple updates on scheduling. Kevin Collins can be available the week of December 16. I need to conﬁrm
with him whether that will be December 19 and 20 or December 18 and 19. I’ll try to ﬁrm that up quickly and get
back to you. He is travelling for work December 2 to 14 so not available on the date you had proposed.

Peggy Hamilton is conﬁrmed for November 20 and 21.

Thanks,
Charlie

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Wednesday, November 6, 2024 2:34 PM
To: Speth, Charles <Charles.Speth@wilmerhale.com>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: RE: AECOM - Discovery Check-in

EXTERNAL SENDER


Thanks Charlie. I’m not available today, but I am free tomorrow at 3:30 pm.

Ioana C. Meyer
Tel. (202) 305-0001
Email: Ioana.C.Meyer@usdoj.gov

From: Speth, Charles <Charles.Speth@wilmerhale.com>
Sent: Wednesday, November 6, 2024 10:20 AM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: [EXTERNAL] RE: AECOM - Discovery Check-in

Thanks Ioana. For Blunt, I was indicating that we will bring him to our DC o ice for the deposition. We’d also like
to discuss Marcinowski and Giardina scheduling and locations. Please let me know if there is a time that works for
you.



From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Wednesday, November 6, 2024 9:59 AM
                                                             1
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To: Speth, Charles <Charles.Speth@wilmerhale.com>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: RE: AECOM - Discovery Check-in

EXTERNAL SENDER


Hi Charlie – could you please just let me know your response re Brent Blunt? I’m also happy to discuss, could you let me
know which points speciﬁcally you’d like to discuss?

Ioana C. Meyer
Tel. (202) 305-0001
Email: Ioana.C.Meyer@usdoj.gov

From: Speth, Charles <Charles.Speth@wilmerhale.com>
Sent: Tuesday, November 5, 2024 6:24 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: [EXTERNAL] RE: AECOM - Discovery Check-in

Thanks Ioana. I think it makes sense to have a call to discuss several of these points. Can you let me know your
availability tomorrow? I am also available now if you are free now. Thanks very much.

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Tuesday, November 5, 2024 6:13 PM
To: Speth, Charles <Charles.Speth@wilmerhale.com>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: RE: AECOM - Discovery Check-in

EXTERNAL SENDER


Charlie,

Thanks for your response, I’ll respond to your points in turn.

Prior Agreement Regarding Poten al Trial Witnesses and Deposi ons: I didn’t mean to imply that we would wait un l
the last minute to disclose our trial witnesses; I just meant to say that we are s ll working on that determina on but we
will absolutely inform you on a rolling basis as soon as we have decided. We hope to have ﬁgured that out soon and will
let you know as soon as possible.

Marcinowski: I understand your points. You no ced his deposi on and we have been planning on his deposi on
moving forward consistent with that no ce. Presently, we are in the process of determining whether he should be a
trial witness and will let you know once we have made that determina on. However, we do s ll reserve the right to call
him as a trial witness even if you decide not to depose him next week – though of course we would disclose that in good
faith. Finally, we have discussed with Mr. Marcinowski that he will come to the DOJ oﬃce for his deposi on, and we will
thus make him available there. If you have a compelling reason why the deposi on must be held at the WilmerHale

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oﬃce besides your deposi on no ce – which also stated that the deposi on could be held at such other mutually
agreeable loca on – please let me know.

Blunt: To clarify, it sounds like Mr. Blunt will be si ng in Aiken, SC, meaning we can either take his deposi on remotely
from DC or we can travel to SC, is that right? And will you be a ending remotely from your DC oﬃce, or will you be
traveling to SC for his deposi on?

Hamilton: Thank you for le ng us know, I will discuss with the a orney who will be taking her deposi on and let you
know whether he will travel or take the deposi on remotely.

Giardina: We are s ll conﬁrming a date with Mr. Giardina and will get back to you as soon as possible.

Best,
Ioana

Ioana C. Meyer
Tel. (202) 305-0001
Email: Ioana.C.Meyer@usdoj.gov

From: Speth, Charles <Charles.Speth@wilmerhale.com>
Sent: Tuesday, November 5, 2024 3:52 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: [EXTERNAL] RE: AECOM - Discovery Check-in

Ioana,

Thanks for your email. Let me try to respond to the items included in your email:

Prior Agreement Regarding Poten al Trial Witnesses and Deposi ons: As you know, the purpose of our agreement
regarding the disclosure of poten al trial witnesses was to ensure that each party would have the ability to depose such
witnesses in a mely manner. As such, our agreement provided that “the par es shall con nue to disclose poten al
trial witnesses in good faith and with reasonable diligence on a rolling basis, so that such witnesses may be deposed in a
  mely manner.” In other words, the purpose of the agreement was to avoid wai ng un l February 12 to disclose those
poten al trial witnesses about which a party already knows. Let me know if you disagree or if we should discuss.

Marcinowski: Given that the deposi on of Mr. Marcinowski is currently scheduled for next Tuesday, please let us know
by EOD Thursday. This was intended to be a way to relieve Mr. Marcinowski from having to sit for a deposi on, since
you had not disclosed him as a poten al trial witness but rather it was we who no ced his deposi on. In any event, the
terms of our oﬀer to withdraw the no ce are set forth in my email of November 4. We’re happy to discuss if you have
any ques ons. In terms of loca on, we no ced the deposi on for our oﬃces in DC and plan to take the deposi on
there.

Giardina: Your email did not men on Mr. Giardina. Please let us know whether our proposed date of December 5 for
Mr. Giardina’s deposi on works.

Blunt: Mr. Blunt is located in Aiken, SC but we are willing to host his deposi on at our oﬃces in DC.

Hamilton: Thank you for le ng us know that November 20 and 21 will work. We are conﬁrming with Ms. Hamilton and
will circle back. Ms. Hamilton is located in Richland, Washington. We plan to a end in person, but you are welcome to
take the deposi on virtually.
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No ce regarding in-person a endance: We will endeavor to let you know as soon as possible whether we will be
a ending our witness’s deposi ons in person but can’t promise that it will be three weeks in advance. As a default, you
can assume that we will be a ending our witnesses’ deposi ons in person.

Other individual URS deposi ons:

            a. Kevin Collins: We don’t think 12/3 will work but will get back to you with an alterna ve date (targe ng
               early December) by the end of the week.
            b. Michael Gavin, Keith Stone, Dan Macias, Arthur Desrosiers, URS 30(b)(6): We will circle back with
               these proposed dates in mind.


Please let me know if it would be helpful to discuss any of the above.

Best,
Charlie



From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Tuesday, November 5, 2024 10:38 AM
To: Speth, Charles <Charles.Speth@wilmerhale.com>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: RE: AECOM - Discovery Check-in

EXTERNAL SENDER


Charlie – Yes, Wednesday Nov 20 to Thursday Nov 21 will work, thanks.

Ioana C. Meyer
Tel. (202) 305-0001
Email: Ioana.C.Meyer@usdoj.gov

From: Speth, Charles <Charles.Speth@wilmerhale.com>
Sent: Monday, November 4, 2024 5:58 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: [EXTERNAL] RE: AECOM - Discovery Check-in

Ioana – thanks for your note. I will respond to other points separately but wanted to ask whether it would be
possible for the attorney taking Hamilton’s deposition to do so on Wednesday November 20, such that our direct
exam could be continued to Thursday November 21 if needed. Please let me know if that would be possible on
your end. Thanks.

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Monday, November 4, 2024 5:41 PM
To: Speth, Charles <Charles.Speth@wilmerhale.com>
Cc: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>;
                                                           4
               Case 1:20-cv-02016-MRS             Document 64-2         Filed 03/14/25       Page 5 of 6
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: AECOM - Discovery Check-in

EXTERNAL SENDER


Charlie,

I’m responding to a few diﬀerent emails in one to keep things consolidated.

First – regarding Frank Marcinowski. As I said in my previous email, he is indeed listed on page 9 of the United States’
ini al disclosures. We are tracking the agreement to disclose trial witnesses no later than one month prior to the close
of fact discovery, which will be February 12, but we are s ll working on our list of trial witnesses. We will have a be er
answer as to Frank most likely later this week.
          To the extent you s ll intend to take his deposi on, it will be at the DOJ oﬃces located at 1100 L St NW in one
of our conference rooms. When you arrive, make sure you have a photo ID, check in with the guard, and then Tom Adair
(or someone from our oﬃce) will come down to get you and escort you up.

Second – Brent Blunt’s deposi on is also coming up next week. The last we heard is that he would be either in South
Carolina or DC. Please let me know by COB tomorrow (Tuesday) where he will be located and whether you will be
traveling to him so that we can make the requisite arrangements.

Third – thanks for le ng us know in your Oct. 29 email that you intend to do a direct exam of Mr. Blunt, Ms. Hamilton,
and Mr. Lowe. With regards to Ms. Hamilton, at the me we scheduled the deposi on we had intended for only one day
because we did not know you would need a second day for direct, and the a orney taking the deposi on is not available
on Nov. 22. Accordingly, you will either need to do her direct on a diﬀerent day, or we will need to reschedule her
deposi on. Please let us know by COB Wednesday what you decide.

Fourth – you said in your Oct. 29 email that URS may choose to a end a deposi on in person even if the US intends to
proceed remotely. In order to make our own prepara ons, we will need to know at least 3 weeks before the scheduled
deposi on date whether URS intends to a end a deposi on in person.

Fi h – we have not received any updates regarding availability for the following witnesses, so we have proposed
addi onal dates for their deposi ons:
     Kevin Collins: December 3
     Michael Gavin: Week of December 16
     Dan Macias: Week of January 13 or 20
     Keith Stone: Week of January 27
     Arthur Desrosiers: Week of Feb 3
     30(b)(6): Week of Feb 10

Sixth – Thank you for sending those proposed dates for Mr. Davis, Mr. Feinberg, Mr. Franklin, and Ms. Bauer. We are
checking with each witness as to whether the dates will work for them and will get back to you as soon as we hear back.

Best,
Ioana

Ioana C. Meyer

Trial Attorney
United States Department of Justice
Civil Division-Commercial Litigation Branch
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National Courts Section
P.O. Box 480
Ben Franklin Station
Washington, DC 20044
Tel. (202) 305-0001
Email: Ioana.C.Meyer@usdoj.gov

For overnight deliveries, please use:
1100 L Street NW, Room 10516, Washington, DC 20005

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